                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


 2311 RACING LLC d/b/a 23XI RACING, and
 FRONT ROW MOTORSPORTS, INC.,

                       Plaintiffs,

                       v.

 NATIONAL ASSOCIATION FOR STOCK
 CAR AUTO RACING, LLC, NASCAR
 HOLDINGS, LLC, NASCAR EVENT
 MANAGEMENT, LLC, and JAMES FRANCE,

                       Defendants.
                                                          No. 3:24-cv-886-KDB-SCR
 NASCAR EVENT MANAGEMENT, LLC,

                       Counter-Plaintiff,

                       v.

 2311 RACING LLC d/b/a 23XI RACING,
 FRONT ROW MOTORSPORTS, INC., and
 CURTIS POLK,

                       Counter-Defendants.


                                      MOTION TO SEAL

       Pursuant to Local Rule 6.1, Plaintiffs and Counterclaim Defendants 2311 Racing LLC,

d/b/a 23XI Racing, and Front Row Motorsports, Inc. respectfully move this Court for an order

permitting them to file certain materials under seal. In support of this motion, Plaintiffs state as

follows:

       Following the Fourth Circuit’s June 5, 2025 order vacating this Court’s preliminary

injunction (24-2245, No. 45) and subsequent denial of Plaintiffs’ petition for en banc review (24-

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2245, No. 49), Plaintiffs intend to file a motion for a temporary restraining order and for a

preliminary injunction, which will include record evidence further supporting Plaintiffs’ likelihood

of success on the merits of their claims and additional evidence of the irreparable harm Plaintiffs

will suffer if the requested relief is not granted. In support of Plaintiffs’ motion for a temporary

restraining order and for a preliminary injunction, Plaintiffs plan to file a memorandum of law and

reply, along with the following documents:

       1.      Documents produced in this litigation with “Confidential” and “Highly

Confidential – OCO” designations under the Stipulated Protective Order in this case (Dkt. 85),

confidential communications, sensitive business information, and documents relating to sponsors,

drivers, and other partners and contracts and other documents detailing Plaintiffs’ sensitive

business relationships. See Jeld-Wen, Inc. v. MMG Mgmt. Consulting, Inc., 2017 U.S. Dist. LEXIS

21478, at *5 n.1 (W.D.N.C. Feb. 15, 2017) (document “sealed to protect the parties’ confidential,

commercially sensitive, private and proprietary information”) (internal quotations omitted).

Accordingly, these documents should be sealed to avoid harming Plaintiffs’ businesses and

business relationships. See, e.g., Whirlpool Props., Inc. v. Filters Fast, LLC, 2019 WL 553452, at

*2 (W.D.N.C. Feb. 12, 2019) (granting motion to seal documents that contained “confidential and

proprietary business information”); Sound Sec., Inc. v. Sonitrol Corp., 2009 WL 1754790, at *1

(W.D.N.C. June 18, 2009) (granting motion to seal “sensitive business information”).

       2.      Plaintiffs also request leave to file under seal unredacted versions of their

forthcoming memorandum of law and reply in support of their motion for preliminary injunction

and a temporary restraining order. The redactions will be narrowly tailored to prevent public

dissemination of NASCAR’s and Plaintiffs’ sensitive business information. To maintain the

confidentiality of this information, the unredacted versions of Plaintiffs’ memorandum of law and



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reply in support of their motion for preliminary injunction and temporary restraining order should

be sealed. See, e.g., Norkunas v. HP Hospitality, LLC, 2010 WL 3943924, at *2 (W.D.N.C. Oct.

7, 2010); Whirlpool Props., 2019 WL 553452, at *2.

         3.     On July 10, 2025, Plaintiffs’ counsel conferred with Defendants’ counsel regarding

the instant motion. On July 11, 2025, Defendants’ counsel stated that Defendants consent to the

filing of Discovery Materials designated by NASCAR as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – OCO” under seal and that Defendants take no position as to Discovery

Materials designated as Protected Material by any other party or non-party under the Stipulated

Protective Order.

         Plaintiffs seek to have these documents filed under seal permanently or until deleted by the

Court.

         For the reasons stated above, Plaintiffs respectfully request the Court grant their motion to

seal the following in connection with their motion for a temporary restraining order and

preliminary injunction: (1) documents produced in this litigation with “Confidential” and “Highly

Confidential – OCO” designations under the Stipulated Protective Order in this case; (2)

confidential communications, sensitive business information, and documents relating to sponsors,

drivers, and other partners and contracts and other documents detailing Plaintiffs’ sensitive

business relationships; and (3) unredacted versions of the forthcoming memorandum of law and

reply in support of Plaintiffs’ motion for a temporary restraining order and a preliminary

injunction.




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                              CERTIFICATE OF COMPLIANCE

       No artificial intelligence was employed in doing the research for the preparation of this

document, with the exception of such artificial intelligence embedded in the standard on-line

legal research sources Westlaw, Lexis, FastCase, and Bloomberg. Every statement and every

citation to an authority in this document has been checked by an attorney in this case and/or a

paralegal working at his/her direction (or the party making the filing if acting pro se) as to the

accuracy of the proposition for which it is offered, and the citation to authority provided.


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                                   CERTIFICATE OF SERVICE

       I hereby certify that the foregoing MOTION TO SEAL was electronically filed using the

Court’s CM/ECF system, which will automatically send notice of filing to all parties of record as

follows:

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                         Counsel for NASCAR Event Management, LLC



This the 11th day of July, 2025.

                                                           /s/ Jeffrey L. Kessler
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